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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF ILLINOIS

 JOEL HABICH, individually and on behalf of
 a class of persons similarly situated,

               Plaintiffs,                           Case No. 22 CV 4438

        vs.
                                                     REMOVED FROM:
 EXELON CORPORATION,                                 Circuit Court of Cook County, Illinois
 COMMONWEALTH EDISON COMPANY,                        Case No. 2022L006413
 ACLARA TECHNOLOGIES, LLC, AND
 ACLARA METERS, LLC,

               Defendants.

      COMMONWEALTH EDISON COMPANY’S RULE 7.1 CORPORATE
DISCLOSURE STATEMENTAND LOCAL RULE 3.2 NOTICE OF AFFILIATES

       Commonwealth Edison Company (“ComEd”) submits this disclosure statement pursuant

to Federal Rule of Civil Procedure 7.1 and Local Rule 3.2:

       1.     ComEd is a wholly owned subsidiary of Exelon Energy Delivery Company, LLC,

which is a wholly owned subsidiary of Exelon Corporation, a publicly traded corporation.
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 Dated: August 19, 2022              Respectfully submitted,


                                     /s/ Brian O. Watson

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                                CERTIFICATE OF SERVICE

       I hereby certify that on August 19, 2022, I electronically filed the foregoing with the

clerk of the court using the CM/ECF system, which will send notice of electronic filing to all

CM/ECF participants.


                                                     /s/ Brian O. Watson
                                                     Brian O. Watson
